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                    Exhibit 1-L
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment


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                                                                 Evidence Packet P.0297
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                                                                     Evidence Packet P.0298
